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In the Gnited States Court of Federal Claing

No, 18-147C

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(Filed: June 22, 2018)

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DYRISHA R. MCKNIGHT, * JUN 2 2 2018
* U.S. COURT OF
Plaintiff, * FEDERAL CLAIMS
*
V. *
%
THE UNITED STATES, *
*
Defendant. *
*

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DISMISSAL FOR FAILURE TO PROSECUTE

The Court, by its own motion, dismisses Ms, McKnight’s complaint for failure to
prosecute under Rule 41(b) of the Court of Federal Claims (“RCFC”). On April 19, 2018,
the Government filed a motion to dismiss Ms. McKnight’s complaint. Dkt. No. 12. Ms.
McKnight failed to respond to the Government’s motion by the Court’s May 17, 2018
deadline. On May 30, 2018, the Court issued an order directing Ms. McKnight to respond
to the Government’s motion by June 11, 2018, including a statement explaining why the
Court should not dismiss Ms. McKnight’s complaint for failure to prosecute. Dkt. No. 13.
In its order, the Court warned Ms. McKnight that failure to comply with the Court’s order
would result in dismissal of her complaint. Id. Ms. McKnight did not file a response on
or before June 11, 2018.

RCFC 41(b) provides that “[i]f the plaintiff fails to prosecute or comply with these
rules or a court order, the court may dismiss on its own motion or the defendant may move
to dismiss the action or any claim against it.” Rule 41(b) is a necessary tool to ensure
efficient docket management and prevent undue delays in litigation. Link v. Wabash R.R.
Co., 370 U.S, 626, 629-30 (1962). “While dismissal of a claim is a harsh action, especially
to a pro se litigant, it is justified when a party fails to pursue litigation diligently and
disregards the court’s rules and show cause order.” Whiting v. United States, 99 Fed. Cl.
13, 17 (2011) (citing Kadin Corp. v. United States, 782 F.2d 175, 176-77 (Fed. Cir. 1986)).
Here, Ms. McKnight has failed to respond to the Government’s motion to dismiss and to

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the Court’s show cause order. Dismissal is therefore not only appropriate, but required to
maintain judicial efficiency and conserve court resources.

Accordingly, this case is DISMISSED, without prejudice, for failure to prosecute in
accordance with Rule 41(b), and all pending motions are dismissed as moot. The Clerk is

directed to enter judgment for the Government.

THOMAS C. WHEELER
Judge
